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7. lN C.~\SE¢'MAT'I`ER OF

U.S. v. Wallacc

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8. PAYM EN T CATEGORY

9. T\'PE PERSO.’\` REPRESENTED

 

Felony

Adult Defendant

 

 

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l3. COURT ORDER

0 Appuintirtg Cuultsel

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lCT 00th

HORNE, ARTHUR
SUITE 400

l:l F Suhs For Fetlera| Defentler

NUSIN|E§WMH-

m P Subanr Pane|Atcurne_v

ij R Sul)s For Retainccl Attnrne_v
ij ‘t' Standh_\'Cllttnse|

SIMONROE AVENUE
MEMPHiS TN 38103

'l`elrphone Number:

l’rior Attorne_v’s Name:

 

Appointment Dale.'

 

% Bectttlse the abn\'e~nlmell person represented has testified under oath or hat
ot erwis¢ satisfied this court that he or she (l) is financially unable to empln_vcmnscl and
{2) does not wish la waive counsel. hud because the interests ol`justice so require. the

 

l~l. :\'.-\M[:`, AND MA[L|NG ADDRESS OF LAW FIRM tonl_v provide per instructions)

attorney whuse na appears in ltem ll ls appointed to rep nt this person in this case.

w ‘M»L \{ dew/f

l:l Other [Se
Signature of Presiding Judicial Othcer or By Ordzr nnhe Coort
fle l 9/9005
Dlte ttt'Order Nunc Prct T\tnc Date
Repayment or partial repayment ordered from the person represented fur this s er\"tce at

 

 

 

 

   

  

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

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CATEGORIES (Attach itemization of services with dates) CE£]H¢|RESD ¢AYH§B hgi`l)_'{-]r§§;n§|€]u B’YD&§§%:I';DH ARE{IELQ\]>|AL
15. a. Arra|gnment and/or Plea ` `

b. Bai| and Detention Hearlngs

c. Motion Hearings
L d. Tria|
C c. Sentencing Hearings
: f. Re\'ocation Hcarings
tr g. Appea|s Court

h. Other (Specify on additional sheets)

(Rate per hour = 5 ) TOTALS:
tt». a. Intervlews and Conferences
9 b. Obtaining and reviewing records
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17, Trave| Expenses (ludging, parking, meats, mileage, etc.)
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19. CERT[F|CA'IION OF ATTORNEY/'PAYEE FOR THE PERIOD 0 F SERVICE 20. APPOINTMENT TER.M|NATION DATE 21. CASE DlSPO S]TlON
FROM m IF OTllER TlIAN CASE COMPLETION
22. CLAlM STATUS l:l Fina| Payment \:l lnterlm Payment Number _ l] Supp|¢mentn| Payment
lla\‘e _\'ou previously applied to the court l'ta' compensation and/or remimhursentcnt for this case'.' l:l YES ij NO l!'yes, were you paid'.’ m YES l:l NU

O¢hrr than Frun‘l lite cour!. have you, or toyottr knowledge has anyone e|!c. received payment [compensation ur anything or value] from any other source in connection with this

representatien'.’ [lYES El N()
| swear nr affirm the truth or correctness nfthe above statements.

Signaturc anttnrney:

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23. lN COURT COM P. -14. O'll'l` OF-CO'URT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 21 TOTAL AMT. AFFR l CERT
28. SIGNATURE OF THF§ PRES|DING .lL`D[ClA[. OFFlCER D,\TE ZSa. Jl.JDGF, l .'\1AG. JUDGE CO|JE
19. IN (_`()L'RT CO.\lF. J(l. OU'l` 0}" COURT COMP. 3!. TR¢\\"EL EXPENSES 32. O'l`l{ER EXP|'INSES 33. Tt‘JTAL A.'ltT. APPRO\'ED

34. Sl(`-N/\TURF. OF C`lllEF JUDGE, COURT Ol"` .-\Pl’ E,\I,S (OR [)ELEGATE) Pa_\ment D¢\'l'l:l 343. JL`I)GE CDDE

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UNITED sTATE DRISTIC COUR - WTERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 34 in
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Honorable J on McCalla
US DISTRICT COURT

